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Parker Baby Co.


                             UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO


THE GOOD LIFE, LLC DBA PARKER
BABY CO.,
                                                   COMPLAINT FOR COPYRIGHT
                Plaintiff,                         INFRINGEMENT

vs.                                                JURY DEMAND

BELINDA BARKER,

                Defendant.



       Plaintiff THE GOOD LIFE, LLC DBA PARKER BABY CO. (“Parker Baby” or

“Plaintiff”), by and through its undersigned attorneys, complains of Defendant Belinda Barker

(“Defendant”), and alleges as follows:

                    NATURE OF ACTION, JURISDICTION AND VENUE

       1.       Upon information and belief, this is an action arising out of Defendant’s

infringement by unlawful copy and use of Plaintiff’s product images, set forth in Exhibit A



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(“Infringed Product Images”). This action arises under the Copyright Act of 1976, as amended,

17 U.S.C. §§ 101, et seq.

         2.       The Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. §§ 1331 and 1338.

         3.       Upon information and belief, this Court has personal jurisdiction over the

Defendant due to the Defendant purposefully directing her activities complained herein toward

Idaho.

         4.       Venue is proper in this Court pursuant to 28 U.S.C. § 1400.

                                    FACTUAL ALLEGATIONS

         5.       Plaintiff is a Colorado limited liability company engaged in the business of online

retail store services, selling namely diaper backpacks, diaper caddies, bibs, baby hair accessories,

baby headbands, multi-use covers, and washcloths. Plaintiff sells its products on, inter alia,

Amazon.com.

         6.       The Infringed Product Images are copyrightable subject matter. Plaintiff owns

these copyrights. Plaintiff filed a United States copyright registration application for the

Infringed Product Images.

         7.       On information and belief, Defendant reproduced and publicly displayed the

Infringed Product Images on her Amazon Listing - https://www.amazon.com/Simply-Designer-

Backpack-Insulated-Stroller/dp/B079SD5YZ9/ref=sr_1_3_a_it?ie=UTF8&qid=1530116789&sr=8-

3&keywords=birch+bag.




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        8.       On information and belief, Defendant utilized product descriptions, which were

similar and/or identical to Plaintiff’s product descriptions, in correlation with the Infringed Product

Images, set forth in Exhibit B.

        9.       Plaintiff submitted a DMCA takedown notice to Amazon’s designated agent,

demanding expeditious removal of the Infringed Product Images. Amazon responded by

removing the Infringed Product Images; however, Defendant subsequently filed a DMCA

Counternotification Regarding Removed Listing on July 6, 2018 (hereafter referred to as “the

Counter Notice”) (attached hereto as Exhibit C), necessitating the instant action to prevent

Amazon’s restoring the Infringed Product Images to Defendant’s Amazon Listing,

https://www.amazon.com/Simply-Designer-Backpack-Insulated-

Stroller/dp/B079SD5YZ9/ref=sr_1_3_a_it?ie=UTF8&qid=1530116789&sr=8-

3&keywords=birch+bag. A copy of the Counter Notice was provided to Plaintiff on July 11,

2018.

                          COUNT I: COPYRIGHT INFRINGEMENT

        10.      Plaintiff repeats and incorporates herein the allegations set forth above as if set

forth in full herein.

        11.      Since their introduction, Plaintiff’s products have achieved tremendous success

and acceptance in the United States and throughout the world.

        12.      Plaintiff has spent extensive amounts of money and years of creative effort to

advertise its product lines.




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        13.      The Defendant’s conduct in reproducing and publicly displaying the Infringed

Product Images without Plaintiff’s permission constitutes infringement of Plaintiff’s copyrights

under 17 U.S.C.A. § 106.

        14.      The Defendant’s actions herein are a willful infringement of Plaintiff’s exclusive

copyrights in the Infringed Product Images.

        15.      By reason of Defendant’s acts of willful copyright infringement, Plaintiff has

suffered and will continue to suffer irreparable injury that cannot be adequately remedied at law.

        16.      By reason of Defendant’s acts of willful copyright infringement, Plaintiff has

suffered financial damages in an amount to be proven at trial.

        17.      Because of Defendant’s acts of willful copyright infringement, Plaintiff requests

an award of its attorneys’ fees pursuant to 17 U.S.C.A. § 505.

                                         JURY DEMAND

        Pursuant to Federal Rule of Civil Procedure 38, Plaintiff demands a trial by jury on any

issue so triable.

        WHEREFORE, Plaintiff prays for judgment as follows:

        1.       Enjoining Defendant, her agents, servants and employees, and those persons in

active concert or participation with her, from infringing, or contributorily or vicariously

infringing, Plaintiff’s copyrights in the Infringed Product Images in any manner, directly or

indirectly;

        2.       Enjoining Defendant, her agents, servants and employees, and those persons in

active concert or participation with her, from creating derivative works of the Infringed Product




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Images and from reproducing, distributing or publicly displaying any versions, revisions or

modifications of the Infringed Product Images or any derivative works based thereon;

       3.       Ordering Defendant to account for all gains, profits and advantage derived from

her infringement of Plaintiff’s copyrights;

       4.       Entering judgment in favor of Plaintiff and against Defendant in an amount equal

to the damages sustained by Plaintiff and the profits earned by Defendant from the infringements

alleged herein, pursuant to 17 U.S.C.A. § 504(b);

       5.       Entering judgment in favor of Plaintiff and against Defendant for statutory

damages, pursuant to 17 U.S.C.A. § 504(c);

       6.       Entering judgment in favor of Plaintiff and against Defendant ordering the

impounding and destruction of all infringing products, or any version, revision or modification

thereof, or any derivative works based thereon;

       7.       Entering judgment in favor of Plaintiff and against Defendant for Plaintiff’s

incurred attorneys’ fees and recoverable costs; and

       8.       Ordering such other relief as is just and equitable in the circumstances.

       DATED THIS ____ day of July, 2018.

                                              HAWLEY TROXELL ENNIS & HAWLEY LLP




                                              By /s/ Bradlee R. Frazer
                                                 Bradlee R. Frazer, ISB No. 3857
                                                 Attorneys for Plaintiff The Good Life, LLC dba
                                                 Parker Baby Co.




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                               EXHIBIT A

                     INFRINGED PRODUCT IMAGES




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                                                 EXHIBIT B

IDENTICAL OR SIMILARLY USED PRODUCT DESCRIPTIONS BY DEFENDANT IN

                CORRELATION WITH THE INFRINGED PRODUCT IMAGES


     Content                 Parker Baby Co.                                        Simply B
Originally        Sam Huebner, Owner
Produced by:
First used in     10/05/2017                                     05/16/2018
commerce:
Bullet Point      PROFESSIONALLY DESIGNED IN THE USA -           PROFESSIONALLY DESIGNED- Simply B
                  Your diaper bag can be stylish AND             designer diaper bag backpack includes all the
                  practical. Our designer diaper bag             functionality of a diaper bag without sacrificing
                  backpack includes all the functionality of a   style. The bag features high quality, durable
                  diaper bag without sacrificing style. The      materials including waterproof canvas with
                  bag features high quality, durable             vegan leather accents on the outside, and
                  materials including waterproof canvas          water resistant polyester on the inside.
                  with vegan leather accents on the outside,
                  and water resistant polyester on the
                  inside. Our unisex color scheme is
                  designed for both men and women.
Bullet Point      STROLLER STRAPS AND OVERSIZED                  STROLLER STRAPS AND OVERSIZED CHANGING
                  CHANGING PAD INCLUDED - Don't pay              PAD INCLUDED - Don't pay extra for essential
                  extra for essential diaper bag accessories.    diaper bag accessories. We've included strong
                  We've included strong stroller straps and      stroller straps and a wipe-clean waterproof
                  a wipe-clean waterproof changing pad           changing pad with our diaper backpack.
                  with our diaper backpack.
Bullet Point      LARGE CAPACITY WITH ORGANIZATION               LARGE CAPACITY WITH ORGANIZATION
                  FEATURES – The Parker Baby Co. (formerly       FEATURES – Simply B Baby Diaper Backpack is
                  known as The Good Baby) Diaper                 big enough to hold all that baby stuff: baby
                  Backpack is big enough to hold all that        toys, baby diapers, baby clothes, baby wipes,
                  baby stuff: baby toys, baby diapers, baby      bibs, onesies, baby toys, cloth diapers,
                  clothes, baby wipes, bibs, onesies, baby       changing pads, medicine, formula, burp cloths
                  toys, cloth diapers, changing pads,            and more!
                  medicine, formula, burp cloths and more!
Bullet Point      THOUGHTFUL BABY SHOWER IDEA - Our              THOUGHTFUL BABY SHOWER IDEA - Simply B
                  trendy, luxury diaper backpack is a            trendy, luxury diaper backpack is a practical
                  practical gift and should be on every baby     gift and should be on every baby registry. It
                  registry. It makes for a great baby gift!      makes for a great baby gift!




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                               EXHIBIT C

        COUNTER NOTIFICATION REGARDING REMOVED LISTING




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